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               8                        IN THE UNITED STATES DISTRICT COURT

               9                            EASTERN DISTRICT OF CALIFORNIA

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              11    THOMAS N. SMITH,                              Case No.1:05-cv-01187-OWW-GSA

              12           Plaintiff,                            (Related to Case No: 1:05-cv-
                                                                  01024-OWW-SMS (closed))
              13
                    vs.                                           ORDER AFTER HEARING ON
              14                                                  MOTION FOR EVIDENCE AND
                                                                  ISSUE SANCTIONS AND
              15    DARRIN SIMMONS, individually and              MONETARY SANCTIONS
                    d.b.a. CLEAN AIR PRODUCTS, and
              16    DOES 1 through 50, inclusive,

              17           Defendants.

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              19          On Monday, October 1, 2007, Defendant’s Motion for Evidence and Issue Preclusion
              20   Sanctions and for Monetary Sanctions came duly before the Court, the Honorable Oliver W.

              21   Wanger, United States District Judge Presiding. Appearing in support of the motions was

              22   Defendants’ counsel, Leonard C. Herr, Esq. Appearing in opposition to the motions was
              23   Plaintiff’s counsel, David M. Gilmore, Esq. After reviewing the Court’s file, the pleadings
              24   contained therein and considering the argument of counsel for the reasons stated on the

              25   record, the Motions for Evidence and Issue Preclusion Sanctions and for Monetary

              26   Sanctions were DENIED.

              27          For the reasons stated on the record, Defendant’s Motions for Sanctions was
              28   WITHDRAWN.

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                     [PROPOSED] ORDER AFTER HEARING ON MOTION FOR EVIDENCE AND ISSUE SANCTIONS AND MONETARY
                                                           SANCTIONS



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               1          Thereafter, upon good cause being shown, Plaintiff’s entire passport shall be

               2   duplicated and provided on or before October 18, 2007, it is so ORDERED.

               3          FURTHERMORE, upon good cause being shown, Plaintiff’s counsel shall file with

               4   the Court, an undertaking that no further documents beyond those documents previously

               5   produced in this case exist; further documents will be presented by the Plaintiff absent the

               6   showing of manifest injustice as required by Rule 37 of the Federal Rules of Civil Procedure;

               7   and any further violation of these rules will not be tolerated and more serious sanctions will

               8   be imposed for violation.

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              10   DATED: October 26, 2007           /s/ OLIVER W. WANGER______________
                                      ___________________________________
              11                                     Oliver W. Wanger
                                                     United States District Judge
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                   Approved as to form:
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                   Dated: _________ __________________________________________
              18                    Mr. David M. Gilmore
                                    GILMORE, WOOD, VINNARD & MAGNESS
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                     [PROPOSED] ORDER AFTER HEARING ON MOTION FOR EVIDENCE AND ISSUE SANCTIONS AND MONETARY
                                                           SANCTIONS



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